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                                                   ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                       DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK                      DATE FILED: November  15, 2018
                                                                ______________

 KELLY PRICE,

                          Plaintiff,                      15 Civ. 5871 (KPF)
                 -v.-
                                                   Order for Limited Appearance
                                                       of Pro Bono Counsel
 THE CITY OF NEW YORK, et al.,

                        Defendants.

KATHERINE POLK FAILLA, District Judge:

      Pursuant to the Court’s discussions with attendees at the pretrial

conference held in this matter on November 14, 2018, the Clerk of Court is

directed to attempt to locate pro bono counsel to represent Plaintiff Kelly Price.

                               LEGAL STANDARD

      The in forma pauperis statute provides that the courts “may request an

attorney to represent any person unable to afford counsel.” 28 U.S.C.

§ 1915(e)(1). Unlike in criminal cases, in civil cases, there is no requirement

that courts supply indigent litigants with counsel. Hodge v. Police Officers, 802

F.2d 58, 60 (2d Cir. 1986). Instead, the courts have “broad discretion” when

deciding whether to seek pro bono representation for an indigent litigant. Id.

Even if a court does believe that a litigant should have a free lawyer, under the

in forma pauperis statute, a court has no authority to “appoint” counsel, but

instead, may only “request” that an attorney volunteer to represent a litigant.

Mallard v. U.S. Dist. Court for the S. Dist. of Iowa, 490 U.S. 296, 301–310

(1989). Moreover, courts do not have funds to pay counsel in civil matters.

Courts must therefore request the services of pro bono counsel sparingly, and
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with reference to public benefit, in order to preserve the “precious commodity”

of volunteer-lawyer time for those litigants whose causes are truly deserving.

Cooper v. A. Sargenti Co., Inc., 877 F.2d 170, 172-73 (2d Cir. 1989).

      In Hodge, the Second Circuit set forth the factors a court should consider

in deciding whether to grant an indigent litigant’s request for pro bono counsel.

802 F.2d at 61-62. Of course, the litigant must first demonstrate that he or

she is indigent, for example, by successfully applying for leave to proceed in

forma pauperis. The court must then consider whether the litigant’s claim

“seems likely to be of substance” – “a requirement that must be taken

seriously.” Id. at 60-61. If these threshold requirements are met, the court

must next consider such factors as:

      the indigent’s ability to investigate the crucial facts, whether
      conflicting evidence implicating the need for cross-examination will
      be the major proof presented to the fact finder, the indigent’s
      ability to present the case, the complexity of the legal issues[,] and
      any special reason in that case why appointment of counsel would
      be more likely to lead to a just determination.

Id.; see also Cooper, 877 F.2d at 172 (listing factors courts should consider,

including litigant’s efforts to obtain counsel). In considering these factors,

district courts should neither apply bright-line rules nor automatically deny

the request for counsel until the application has survived a dispositive motion.

See Hendricks v. Coughlin, 114 F.3d 390, 392-93 (2d Cir. 1997). Rather, each

application must be decided on its own facts. See Hodge, 802 F.2d at 61.

                                  DISCUSSION

        On November 14, 2018, at a pretrial conference, Plaintiff made an oral

  application to the Court for pro bono counsel. For the reasons discussed on

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the record, the Court granted Plaintiff’s request. The Court finds that the

Hodge factors weigh in favor of granting Plaintiff’s application, and that, in this

case, representation would “lead to a quicker and more just result by

sharpening the issues and shaping examination.” Hodge, 802 F.2d at 61.

                                  CONCLUSION

      For the foregoing reasons, the Clerk of Court is directed to attempt to

locate pro bono counsel to represent Plaintiff. The Court advises Plaintiff that

there are no funds to retain counsel in civil cases and the Court relies on

volunteers. Due to a scarcity of volunteer attorneys, a lengthy period of time

may pass before counsel volunteers to represent Plaintiff. Nevertheless, this

litigation will progress at a normal pace. If an attorney volunteers, the

attorney will contact Plaintiff directly. There is no guarantee, however, that a

volunteer attorney will decide to take the case, and plaintiff should be

prepared to proceed with the case pro se. The Court has established a Pro

Bono Fund to encourage greater attorney representation of pro se litigants.

The Fund is especially intended for attorneys for whom pro bono service is a

financial hardship. See

http://www.nysd.circ2.dcn/docs/prose/pro_bono_fund_order.pdf.]

      The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from

this Order would not be taken in good faith and therefore IFP status is denied

for the purpose of an appeal. See Coppedge v. United States, 369 U.S. 438,

444-45 (1962).




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       SO ORDERED.

Dated:         November 15, 2018
               New York, New York


                                                 KATHERINE POLK FAILLA
                                                United States District Judge



Order Sent by First Class Mail to:
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